
BROOKE, P.
The contracts on which this suit is founded, are certainly not susceptible of any correct construction, by which the parties can be considered as vendor and vendee of land. . The^'warranty relied on as giving that character to them, purports nothing more than an obligation on the part of Poage, to locate the land warrants furnished by Willson, on unappropriated and vacant lands. They are-nothing but contracts for services to be rendered on the one part, and paid for on the other, at a stipulated rate, on which a suit at law was the plain and obvious remedy. The circumstance, that Poage had broken the covenants in the sealed contract, by failing to deliver the surveys within the stipulated time, in consequence of which he could not enforce it at law, does not obviate the objection to his* coming into equity; because it appears by his bill, that that contract was satisfied by the payment, made by Willson, and the only claim he had, if any, was on the second contract for the location, survey &amp;c. of the 100,000 acres; and this might have been enforced at law, if any thing was due on it, by an action of assumpsit upon the express promise of Willson to pay the stipulated compensation of 20 dollars SO cents per thousand acres, fon the location, survey áte. thereof. The decree is to be affirmed.
